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                                                         Exhibit A to the Complaint
Location: Swarthmore, PA                                                                           IP Address: 72.92.47.69
Total Works Infringed: 24                                                                          ISP: Verizon Fios
 Work      Hashes                                                                UTC        Site         Published      Registered   Registration
 1         Info Hash:                                                            02-21-     Tushy        02-06-2022     02-14-2022   PA0002335460
           B4F78A6443F0A429289E0D866EEBFD6A5274936C                              2022
           File Hash:                                                            04:16:28
           FA74A2CB4BA258778474E5E384F48F9253E7D4C24FBD3091C21D6E36AA99DC21
 2         Info Hash:                                                            01-29-     Tushy        01-02-2022     01-17-2022   PA0002330092
           01F1D90FAD26FBB1FD3379116EAD5498A961B374                              2022
           File Hash:                                                            16:51:37
           D6FDEC5A3AB8A585BACBDDE0D3F984D30A5DD1C0FE868F3B038F22C20A334A59
 3         Info Hash:                                                            01-29-     Tushy        01-23-2022     02-14-2022   PA0002335464
           CB4812698012C8B3EAA764F6FD67FD2D773AE287                              2022
           File Hash:                                                            16:47:59
           3DA67D0F70F303DCDC7E2BDBD72EF67428A60A434FD41D527BE864682DBD4A30
 4         Info Hash:                                                            11-19-     Tushy        12-02-2018     12-18-2018   PA0002141917
           09532C4143AF2DE7AAB40E36545D4DCB2A752D1A                              2021
           File Hash:                                                            05:38:26
           BA80E4E858401CEDF8A7508CE5D1E1AD72673B1B43076671AA86D2A6CB58E2E4
 5         Info Hash:                                                            11-19-     Tushy        09-13-2021     10-05-2021   PA0002315290
           49C1B173E18286C74CA83603EE67541861AC53AC                              2021
           File Hash:                                                            05:35:42
           D63D7FC2F1C3FDCD303F6DC6A81308178C09B6AE9023E2C97A4943AD6F3D69F8
 6         Info Hash:                                                            11-19-     Tushy        05-21-2019     06-17-2019   PA0002181294
           6A83AB644DF11F73D041DBFD6EE58EDBAD4A0AFB                              2021
           File Hash:                                                            05:35:36
           A7333DA9723F09A8867CA4CC1F3189881E1A9FC95E11CCAC66541E1E7ECD0921
 7         Info Hash:                                                            09-02-     Tushy        08-01-2021     09-30-2021   PA0002320423
           3E7379D35240403CF73CD88536BB564781BD4D7B                              2021
           File Hash:                                                            00:20:42
           33AD18C9185D75F7472287DA7EC23C010070FFDD896D9202ABCEA093E304885E
 8         Info Hash:                                                            07-10-     Tushy        07-04-2021     07-08-2021   PA0002300663
           0C44CCAFAC6BEA30EC61A86125F9ECCD152A555C                              2021
           File Hash:                                                            00:43:04
           C50FD4ED5C78D645B9919590EF5BB84C318B0F9E3CE187C7728174AFD872B2DD
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Work   Hashes                                                             UTC        Site    Published    Registered   Registration
9      Info Hash:                                                         06-07-     Tushy   05-16-2021   06-09-2021   PA0002295592
       4945F9FC1134BA7F1CD6CE7085C300E997CB8D3A                           2021
       File Hash:                                                         01:07:58
       069E9775F9743E72C39030C655EA1003AAF17DE491536062A8D52B9C041ED7AB
10     Info Hash:                                                         05-28-     Tushy   05-07-2021   06-09-2021   PA0002295578
       B04340FFFA5DAD8F1DC2709F0C15EBB9F4121900                           2021
       File Hash:                                                         03:09:43
       5EA8D9D7E2392F0CFAE8CF0CAFE6EF9A696E57669DE792EBEF1B80148116EAA0
11     Info Hash:                                                         05-20-     Tushy   05-02-2021   06-15-2021   PA0002296917
       6CD9225C1BDFE15D867B79C970E67796DA07AC3C                           2021
       File Hash:                                                         00:05:39
       B654D19503A5FCA233FFA06A8C454330CD55D82E1D1B37EB8DAD68EF1F5D9BCD
12     Info Hash:                                                         04-28-     Tushy   04-25-2021   06-09-2021   PA0002295582
       846B05E2B96675A7BC351F8EBDDDCC4803764E6C                           2021
       File Hash:                                                         17:45:41
       95812A21AE7EFD973AF7380CE9DB99CE1C25EEF7C88DD1A31C716D2D6F9E1E9D
13     Info Hash:                                                         04-28-     Tushy   04-11-2021   04-27-2021   PA0002288948
       B998B7BDD041A7808D751C80B922943D169DCA90                           2021
       File Hash:                                                         17:40:32
       90C3C43060083796BF2F4730B6F8BEC9003AC66F7E40A7453C3792A1778E5035
14     Info Hash:                                                         04-08-     Tushy   03-28-2021   04-27-2021   PA0002288947
       65AE22A1EAAA2A80353EE02BDB7D66F72EE58914                           2021
       File Hash:                                                         03:34:43
       9874817CCD34961FF2649608FA9E3FA5A8FCF009C044602FAE1913A586BB1D3B
15     Info Hash:                                                         03-31-     Tushy   03-21-2021   04-14-2021   PA0002286723
       8A4E33BE6A9820F4197D25EA3290C7C46BE549EB                           2021
       File Hash:                                                         02:31:22
       8A437387F2B7F2B120B5A458C83606D21ABFDCA11012D601A20B2BF23CB7850F
16     Info Hash:                                                         03-31-     Tushy   03-07-2021   03-22-2021   PA0002282503
       480F52BC43D6319DF4221D98C7C145B06488AD36                           2021
       File Hash:                                                         02:28:12
       ADF52846FDA2D0B5E56E954ABF6BEDC4B2EBD1C155979440218310D60C0FF4D2
17     Info Hash:                                                         03-31-     Tushy   03-14-2021   03-22-2021   PA0002282514
       351D869C5440EF8577A8CE2BE6391D2B59B3AADE                           2021
       File Hash:                                                         02:27:21
       D044D10640875D6E7D75C830EB2613AD8553831CA0CBECE175559DABE29252DF
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Work   Hashes                                                             UTC        Site    Published    Registered   Registration
18     Info Hash:                                                         03-05-     Tushy   02-28-2021   03-22-2021   PA0002282501
       5EA1CEDFD4BE9576CDFC7164EC71A2854CBFE95B                           2021
       File Hash:                                                         02:32:10
       19B7648336A0AB740B87093BD080CCAEC8B990B2083C3E21389D741846334EA5
19     Info Hash:                                                         03-05-     Tushy   02-14-2021   03-08-2021   PA0002280366
       C5E2D2957C85AEF85E6DE825C13C203DF87BA57F                           2021
       File Hash:                                                         02:25:53
       41F17368762A71E497D6DB6FBD55BEEE103180B1035CB7E017F77AAC3FF0D427
20     Info Hash:                                                         01-31-     Tushy   01-31-2021   02-09-2021   PA0002276144
       FE1B5290193A13F3642F1D6FD536BF6E313D0FF6                           2021
       File Hash:                                                         21:21:11
       66FFB9A362465AB618B6925BE3B0450E0F148A32D0FAD2BF9FFE8253636584C2
21     Info Hash:                                                         01-19-     Tushy   11-22-2020   11-30-2020   PA0002266355
       3ABC5B687A776179627C59030B8D97BE74D82C0A                           2021
       File Hash:                                                         01:29:38
       43CB26B429814283D368AEF82FF9258FF727D5358A11DBEE523A18C40B6534D3
22     Info Hash:                                                         01-19-     Tushy   07-05-2017   07-06-2017   PA0002041555
       AF7CCCF590D9D434E840748651C5C0E95AD55758                           2021
       File Hash:                                                         01:28:33
       D2E054658B9FF1DA5F461121E4DF1EDA78E044FA945C63F77C1572050E4EB8EB
23     Info Hash:                                                         01-19-     Tushy   11-08-2020   12-09-2020   PA0002274932
       5FE433318BCC78052E1EF7DC5BB418E2411C4726                           2021
       File Hash:                                                         01:27:13
       99193320D6CFBBCDFECCF746602542A5751F0ABFBAE8ABFB15E4CCE3E9A40AC2
24     Info Hash:                                                         12-09-     Tushy   12-06-2020   12-28-2020   PA0002269080
       A2FA5741545EE8CC56D1724776040CD5F8FD78D8                           2020
       File Hash:                                                         20:02:59
       6C80643130079CF51F978CB53849203CCB19E07099CE46E1BB90D2C4015CD651
